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                                        #:1075


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     UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. 2:24-CR-00091-ODW
13
               Plaintiff,                     [PROPOSED] ORDER CONTINUING TRIAL
14                                            DATE AND FINDINGS REGARDING
                     v.                       EXCLUDABLE TIME PERIODS PURSUANT
15                                            TO SPEEDY TRIAL ACT
     ALEXANDER SMIRNOV,
16                                            [PROPOSED] TRIAL DATE: 12/02/2024
               Defendant.
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          The Court has read and considered the Stipulation Regarding
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     Request for (1) Continuance of Trial Date and (2) Findings of
21
     Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
22
     parties in this matter on April 12, 2024.         The Court hereby finds
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     that the Stipulation, which this Court incorporates by reference into
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     this Order, demonstrates facts that support a continuance of the
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     trial date in this matter, and provides good cause for a finding of
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     excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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1         The Court further finds that:         (i) the ends of justice served by

2    the continuance outweigh the best interest of the public and

3    defendant in a speedy trial; (ii) failure to grant the continuance

4    would be likely to make a continuation of the proceeding impossible,

5    or result in a miscarriage of justice; and (iii) failure to grant the

6    continuance would unreasonably deny defendant continuity of counsel

7    and would deny defense counsel the reasonable time necessary for

8    effective preparation, taking into account the exercise of due

9    diligence.   Additionally, and for the reasons stated in the

10   Stipulation, the Court finds that certain periods of time should be

11   excluded under 18 U.S.C. § 3161(h)(1), pertaining to the transfer of

12   this case and the transport of the Defendant to this District.

13        THEREFORE, FOR GOOD CAUSE SHOWN:

14        1.   The trial in this matter is continued from April 23, 2024

15   to December 2, 2024. The Court will issue a separate Scheduling and

16   Case Management Order upon consideration of the parties proposed

17   briefing and hearing schedule.

18        2.   The time period of April 12, 2024 to December 2, 2024,
19   inclusive, is excluded in computing the time within which the trial

20   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

21   and (B)(iv).   Furthermore, the time period February 15, 2024 to

22   February 26, 2024, inclusive, is excluded pursuant to 18 U.S.C.

23   §§ 3161(h)(E) & (F).     Lastly, the time period March 15, 2024 to March

24   19, 2024, inclusive, is be excluded pursuant to 18 U.S.C.

25   § 3161(h)(1)(D).

26        3.   Nothing in this Order shall preclude a finding that other
27   provisions of the Speedy Trial Act dictate that additional time

28   periods are excluded from the period within which trial must

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1    commence.   Moreover, the same provisions and/or other provisions of

2    the Speedy Trial Act may in the future authorize the exclusion of

3    additional time periods from the period within which trial must

4    commence.

5         IT IS SO ORDERED.

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7
      DATE                                      HONORABLE OTIS D. WRIGHT II
8                                               UNITED STATES DISTRICT JUDGE
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11   Presented by:
12
     Christopher M. Rigali
13   Assistant Special Counsel
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